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                               EXHIBIT 1
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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA

                        CASE NO. 18-cr-80160-DIMITROULEAS


    UNITED STATES OF AMERICA

    v.

    CLAUDIA PATRICIA DIAZ GUILLEN,

                   Defendant.
    _____________________________________/

             CLAUDIA PATRICIA DIAZ GULLEN’S OPPOSITION TO
             GOVERNMENT’S REQUEST FOR PROTECTIVE ORDER

          The government’s proposed protective order is overly broad, substantially

    burdensome, and unfairly limits Ms. Diaz Guillen’s ability to adequately prepare and

    present a defense. Additionally, the effect of the proposed order creates an intrusion

    on the defense because it seeks to dictate the defense team, among other intrusions.

    The proposed protective order is more limiting than orders regularly proposed and

    entered in health care cases where there are specific statutes related to the sensitive

    and confidential nature of health information. Here, there is no such sensitive

    information.

                                       ARGUMENT

          The Federal Rules of Criminal Procedure permit the Court “for good cause,

    [to] deny, restrict, or defer discovery or inspection, or grant other appropriate

    relief.” Fed. R. Crim. P. 16(d)(1). “The burden of showing ‘good cause’ is on the
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    party seeking the order, and among the considerations to be taken into account by

    the court will be the safety of witnesses and others, a particular danger of perjury or

    witness intimidation, and the protection of information vital to national

    security.” United States v. Cordova, 806 F.3d 1085, 1090 (D.C. Cir. 2015); United

    States v. Dixon, 355 F. Supp. 3d 1, 4 (D.D.C. 2019) (internal citations omitted)

    (Good cause requires a “particularized, specific showing.”) Here, no good cause

    exists for a protective order.

           The government claims that sensitive information has been shared in

    discovery such as MLAT requests, personal identifying information, information

    related to co-defendants, and information related to targets of ongoing government

    investigations. To date, the government has produced over 500,000 pages of

    discovery. The discovery consists mostly of bank records, records regarding boat

    purchases, emails, and business records related to one co-defendant1. There is

    nothing sensitive about this information.          This is the type of documentation that is

    regularly produced in criminal cases during the discovery process and that does not

    require any type of protection from dissemination.

           The real purpose of the government’s motion is to limit and control the

    members of the defense and to prohibit the operation of a joint defense team,

    amongst charged defendants, including Ms. Diaz Guillen’s husband, Adrian


    1
     Interestingly, information or documents related to Ms. Diaz Guillen are largely absent from the
    discovery to date.



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    Velasquez.    The government’s motion concedes that it is seeking improper

    dissemination of discovery to the “two fugitives” in the case. See Motion for

    Protective Order, [D.E. 98] at 2. It is unclear, and the government does not explain,

    why sharing information with co-defendants, including Ms. Diaz Guillen’s husband,

    would in any way be improper. The government cannot provide an explanation

    because its motivations are wholly improper and inconsistent with the law.

          The attorney-client relationship is a sacred one in the eyes of the law. See

    Upjohn Co. v. United States, 449 U.S. 383, 389 (1991). The joint defense

    relationship is akin to an attorney client relationship. Courts have held that the

    attorney-client privilege gives rise to a concomitant “joint defense privilege” which

    “serves to protect the confidentiality of communications passing from one party to

    the attorney for another party where a joint defense effort or strategy has been

    decided upon and undertaken by the parties and their respective counsel.” United

    States v. Almeida, 341 F. 3d 1318 (11th Cir. 2003) citing Schwimmer, 892 F.2d 237,

    243 (2d Cir. 1989). As the Second Circuit observed, “The need to protect the free

    flow of information from client to attorney logically exists whenever multiple clients

    share a common interest about a legal matter.” Id. 1324. The Eleventh Circuit

    agreed. Id.

          The Department of Justice, United States Attorney’s Manual also recognizes

    the right for parties to engage in joint defense agreements. Specifically, Section 9-

    28.730 of the Manual provides that “mere participation by a corporation in a joint


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    defense agreement does not render the corporation ineligible to receive cooperation

    credit, and prosecutors may not request that a corporation refrain from entering into

    such agreements. (Emphasis added).

          Here, a joint defense is particularly important to Ms. Diaz Guillen and an

    inability to engage in a joint defense would cripple her ability to prepare for trial.

    Particularly, the government’s theory is that Ms. Diaz Guillen “benefitted” from

    monies transferred directly to her husband, co-defendant Adrian Velasquez. There

    is no allegation that Ms. Diaz Guillen was a party to the transactions. As such, the

    only way Ms. Diaz Guillen can properly defend herself is for undersigned counsel

    to discuss these transactions with her husband’s attorney. Moreover, as a practical

    matter, it is simply absurd for the government to seek to prohibit communications

    between a husband and wife accused jointly in a Superseding Indictment. The

    government’s attempts to control and dictate the joint defense team are improper.

          Additionally, the government’s motion for protective order also infringes and

    attempts to control Ms. Diaz Guillen’s defense team in violation of the Sixth

    Amendment. Specifically, the proposed order seeks to limit disclosure of discovery

    materials to U.S. based lawyers and prohibits the dissemination to foreign lawyers.

    Again, this is an improper limitation and/or request. The materials in this case

    largely relate to foreign bank transactions, including countries Venezuela and

    Switzerland. The case also involves violations of foreign law. If Ms. Diaz Guillen

    wishes to hire a foreign lawyer to participate on the defense team to assist in


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    translating documents and advise on foreign banking law and procedure, the

    proposed order prohibits Ms. Diaz Guillen and her “U.S. based lawyers” from

    sharing documents or discussing the discovery. This is wholly improper. Ms. Diaz

    Guillen has every right to understand the underlying conduct and use this knowledge

    to present a defense.

          The proposed order also limits Ms. Diaz Guillen’s ability to prepare defense

    witnesses to testify at trial. First, the proposed order prohibits Ms. Diaz Guillen’s

    attorneys from showing defense witnesses documents produced in discovery.

    Interestingly, the government does not have a similar limitation. Second, Ms. Diaz

    Guillen’s attorneys are prohibiting from transmitting materials from discovery

    outside of the United States. This case involves conduct that almost exclusively took

    place outside of the United States. Defense witnesses are all outside of the United

    States. The proposed order as written completely handicaps Ms. Diaz Guillen from

    preparing an adequate defense.

          The effect of the proposed order is that the government retains sole control

    over the narrative of the defendant’s conduct, retains sole control over the documents

    in the case, retains sole control over how the defense prepares for trial and who can

    act as a witness, and Ms. Diaz Guillen is left to proceed to trial with a blindfold and

    her arms tied behind her back. Ms. Diaz Guillen’s Sixth Amendment right to prepare

    for trial is already severely hampered by her detention, the added restrictions and

    limitations that would result from the proposed order are simply unconstitutional.


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           Moreover, the government does not make a sufficient argument to justify the

    protective order. The materials produced in discovery to date consists of bank

    records, emails exchanged between co-defendant Gorrin and others in his office and

    outside of his office, MLAT requests to foreign governments that largely mirror the

    allegations in the Superseding Indictment, and tolling orders. There is nothing that

    justifies secrecy. The bank account numbers can be redacted. The government has

    stated that it needs to protect their cooperators.         This claim is belied by the

    government’s very own, very public press releases, which regularly tout their war

    on the corruption in Venezuela, their arrests, their investigations, and those

    cooperating with the government. Particularly, it was widely reported following the

    government’s public statements that Alejandro Andrade was the star witness in this

    case2. It is not a secret that needs to be guarded.

           There might be limited pieces of discovery that the government holds which

    might meet the standard for a particularized, specific need for a protective order. For

    example, if the government is seeking to protect the identity of a particular witness

    to protect their witness from physical or economic harm by members of the public.

    Or, if the discovery were to contain information related to an ongoing criminal

    investigation, those materials might require extra care and could be the subject of a


    2For example, see Musgrave, Jane, Venezuelan from Wellington gets 10 years in billion dollar
    scheme,             Palm             Beach           Post,            available           at
    https://eu.palmbeachpost.com/story/news/crime/2018/11/27/alejandro-andrade-apologetic-
    venezuelan-who-lived-in-wellington-gets-10-years/7978051007/.



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    protective order3. However, the government’s proposed order does not seek to

    protect particularized sensitive information it seeks a blanket order that is overly

    broad, unduly restrictive, and designed to prohibit the presentation of a defense case.

                                        CONCLUSION

           Ms. Diaz Guillen asks for the government’s proposed protective order to be

    denied. Ms. Diaz Guillen attaches a more narrowly tailored protective order as

    Exhibit A. If the Court decides that a protective order is warranted here, Ms. Diaz

    Guillen requests that the order proposed at Exhibit A be entered.

    Dated: July 28, 2022.

                                              Respectfully submitted,

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                                  CERTIFICATE OF SERVICE



    3 However, this is unlikely because the events giving rise to the Indictment and Superseding
    Indictment all took place between 2011 and 2013, which means the statute of limitations has
    expired.


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          I HEREBY CERTIFY that a true and correct copy of the foregoing document

    has been filed via electronic mail with the Clerk of the Court by using CM/ECF

    System which will send a notice of electronic filing to all attorneys who have made

    an appearance on this 28th day of July, 2022.


                                          By: /s/ Marissel Descalzo
                                                 Marissel Descalzo, Esq.




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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                          CASE NO. 18-cr-80160-DIMITROULEAS

   UNITED STATES OF AMERICA

   v.

   CLAUDIA PATRICIA DIAZ GUILLEN,

                  Defendant.
   _____________________________________/

                                 PROTECTIVE ORDER

           THIS CAUSE is before the Court on the United States request to enter a

   Protective Order, the defense’s request for a narrowly tailored protective Order, and

   the Court having considered the Government’s Motion and Ms. Diaz Guillen’s

   opposition, and being fully advised in this premises, pursuant to Fed. R. Crim. P.

   16(d) it is hereby ORDERED and ADJUDGED:

        1. The government will be required to specifically identify and mark any

           information it deems Sensitive. All materials in discovery cannot receive this

           designation.

        2. The government agrees not to designate materials as Sensitive Information

           unless such a designation is required. The government further agrees to make

           every effort to provide discovery in a manner that will allow for most

           discovery to be produced without such designation.

        3. The defense shall not show or disseminate any of the Sensitive Information to

           anyone outside of the Legal Defense Team. The “legal defense team”
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         includes defense counsel (defined as counsel of record in this case, including

         any post-conviction or appellate counsel) and any attorneys, investigators,

         paralegals, support staff, and expert witnesses who are advising or assisting

         defense counsel in connection with this case.

      4. The defendant and legal defense team may solely use the Sensitive

         Information in connection with these proceedings or arising from these

         proceedings.

      5. No Sensitive Information may be disclosed to any persons other than

         Defendant, the legal defense team, or the person to whom the Sensitive

         Information directly pertains or his/her counsel, without prior Court

         approval.

      6. This Order will not apply to materials that:

            a. Are, or later become, part of the public record, including materials that

               have been received in evidence in this or other public trials or hearings;

            b. Were derived directly from Defendant or that pertain solely to

               Defendant. Examples of such materials include Defendant’s own

               financial records, telephone records, electronic communications; and

            c. Materials that the defense obtains by means other than discovery.

      7. Nothing in the Order modifies the government’s obligations at any stage of

         discovery in this case pursuant to Federal Rules of Criminal Procedure 16 and

         26.2, Local Criminal Rule 5.1, 18 U.S.C. 3500 (Jencks Act), and the
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         government’s general obligation to produce exculpatory and impeachment

         information in criminal cases.

      8. Defense counsel must provide a copy of the Order, and review the terms of

         the Order with, members of the legal defense team, Defendant and any other

         person, before providing them access to Sensitive Information.

      9. This Order will not constitute a ruling on the question of whether any

         particular material is properly discoverable or admissible and does not

         constitute any ruling on any potential objection to the discoverability or

         admissibility of any material.

      10. Upon entry of final order of the Court in this matter and conclusion of any

         direct appeals, counsel for the government and the Defendant shall destroy or

         cause to be destroyed all copies of the material responsive to the Standing

         Discovery Order, except that they may maintain copies in their closed case

         files following their ordinary procedures; and

      11. Counsel for the government and for the Defendant shall promptly report any

         known violations of the Court’s order to the Court.

         DONE AND ORDERED in Chambers at                                       ,

   Florida, this ___ day of _________, 2022



                                          HON. WILLIAM P. DIMITROULEAS
                                          UNITED STATES DISTRICT JUDGE

   Copies furnished to:
   Counsel of Record
